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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------- X
                                        :
LOVELYNN GWINN,                         :
                                        :
                         Plaintiff,     :           22cv2883 (DLC)
                                        :
                -v-                     :            OPINION AND
                                        :               ORDER
LAIRD SUPERFOOD, INC.,                  :
                                        :
                         Defendant.     :
                                        :
--------------------------------------- X

APPEARANCES:

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DENISE COTE, District Judge:

     Lovelynn Gwinn has brought this suit, on behalf of classes

of similarly situated consumers, against Laird Superfood, Inc.

(“Laird”) for inaccurately describing the serving size of its
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powdered creamer products on nutrition labels.            Laird moves to

exclude the plaintiff’s expert report, which purports to measure

the serving size.       The motion is granted.


                                  Background

     The facts underlying this action are described in an

Opinion of December 1, 2022, which is incorporated by reference.

See Gwinn v. Laird Superfood, Inc., No. 22cv2883 (DLC), 2022 WL

17363585 (S.D.N.Y. Dec. 1, 2022).          In brief, Laird sells

powdered coffee additives, including six Superfood Creamer

products described as Unsweetened, Original with Functional

Mushrooms, Original, Chocolate Mint, Turmeric, and Pumpkin

Spice, as well as Performance Mushrooms (collectively, the

“Products”).      Each Product container is labeled with nutrition

facts.     The Food, Drug, and Cosmetic Act (“FDCA”) requires that

the serving size and number of servings be displayed on

nutrition labels.       See 21 U.S.C. § 343(q).

     The FDCA requires nutrition labels to display “the serving

size which is an amount customarily consumed and which is

expressed in a common household measure that is appropriate to

the food,” as well as “the number of servings . . . per

container.”      21 U.S.C. § 343(q)(1)(A)-(B).       FDA regulations

require that the serving size for a “powder” use a “reference

amount[]” of 2 grams.       21 C.F.R. § 101.12(b) tbl. 2.        The


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nutrition label must display the serving size as a common

household measure, with the reference amount in parentheses next

to it.     Id. § 101.9(b)(7).     The common household measure used

must be the one that “most closely approximates the reference

amount.”     Id. 101.9(b)(2)(iii).         If the serving size is

expressed using teaspoons, the FDCA allows nutrition labels to

use household measures of 1/8, 1/4, 1/2, 3/4, 1, or 2 teaspoons.

Id. § 101.9(b)(5)(i).       The “number of servings” shown on the

label must be calculated according to the reference amount,

rather than the household measure, and rounded to the nearest

whole number.      Id. § 101.9(b)(8)(i).

      The FDA has also issued guidance to assist manufacturers in

determining the metric equivalents of household measures.             See

Guidance for Industry: Guidelines for Determining Metric

Equivalents of Household Measures, FDA (Oct. 1993) (“FDA

Guidance”).      The Guidance provides, inter alia:

     “Representative samples of a food should be selected
      using standard sampling techniques from various lots
      (Ref. 21 C.F.R. § 101.9 (g)(2)).”

     “Good quality laboratory equipment (e.g., graduated
      cylinders, balances, etc.) should be used to measure
      or weigh the food. Equipment should be calibrated in
      accordance with good laboratory practices and/or
      manufacturer's specifications.”

     “Standard analytical practices should be used for
      accurately determining product weights and volumes.
      Significant digits should be retained in order to
      minimize rounding errors in reporting final values.”

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         “The food volume measured should be at least 10 times
          the reference amount for the category in order to
          minimize measuring errors. (For example, dividing the
          weight of a cup of a product by 16 and 48 provides the
          tablespoon and teaspoon weights, respectively.)”

Id.       While the FDA Guidance is nonbinding, it is used by the FDA

“to determine the accuracy of nutrition labeling.”              Id.

          Gwinn alleges that Laird failed to comply with the FDCA by

inaccurately describing the household measure of its Products on

their nutrition labels.          Gwinn relies on an expert metrology

report to show that Laird’s teaspoon measurements are incorrect.

Gwinn does not dispute that the correct reference amount for the

Products is 2 grams, as reflected on the Products’ labels.

I.        Relevant Procedural History

          Gwinn filed this action on April 7, 2022, bringing claims

on behalf of herself and putative classes of all persons who

purchased the Products.          Gwinn brought claims for false or

deceptive advertising in violation of New York General Business

Law §§ 349 and 350, unjust enrichment, breach of express

warranty, and breach of implied warranty.              On June 8, Laird

moved to dismiss the complaint.              The plaintiff opposed the

motion on July 6, but agreed to dismiss without prejudice its

claim for breach of implied warranty and its request for

injunctive relief.         The action was reassigned to this Court on

August 17, 2022.

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     The December 1 Opinion largely denied the defendant’s

motion to dismiss.1    The Opinion noted, however, that to avoid

preemption by the FDCA, the plaintiff’s claim must be based on

the theory that the nutrition labels do not comply with the

FDCA, i.e., that each Product uses a common household measure

larger than the one that most closely approximates a 2-gram

serving size.   Gwinn, 2022 WL 17363585, at *3.

     Following a conference with the parties, they were ordered

on January 5, 2023, to engage in an early exchange of expert

disclosures on the issue of metrology, which is the science of

measurement.    On March 10, 2023, Gwinn served her expert

disclosure pursuant to Federal Rule of Civil Procedure 26(a)(2),

identifying Nidal Kahl (“Kahl”) as her metrology expert.          On

April 28, Laird submitted its expert disclosure, identifying

Becki Holmes (“Holmes”) as its metrology expert.         On June 30,

the defendant moved to exclude Kahl’s expert testimony, pursuant

to Rules 702, 401, and 403, Fed. R. Evid.        With its July 25

opposition, the plaintiff attached a rebuttal declaration of

Kahl dated July 20.    The motion to exclude became fully

submitted on August 3.




1 The motion was granted with respect to the plaintiff's claim
for unjust enrichment. See Gwinn, 2022 WL 17363585, at *6.


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II.   Kahl’s Testimony

      Kahl has served as the Director of Biogen Laboratory

Developments since 2000.      He received a B.S. from Oregon State

University in 1998, where he majored in Microbiology and minored

in Chemistry.    Kahl states in his report that “[r]egulatory

review and label claim verification of retail product labels are

a standard service [he has] conducted at [his] firm for more

than two decades.”     Kahl explains that he was asked to “verify

the total number of household servings that were provided in

each” Product container.      The following description of Kahl’s

testing process is taken from both his initial and rebuttal

reports.

      Counsel for Gwinn provided Kahl with one container of each

of the seven Products at issue.          Plaintiff’s counsel had

purchased the seven containers at retail stores and arranged for

their shipment to Kahl.      As described by Kahl, the labels for

four of the Products described serving sizes as 1 tsp, and the

labels of three described serving sizes of 3/4 tsp. 2

      Kahl emptied each of the containers to determine the total

Product weights and “to loosen the powder blend within the

containers.”    Kahl then attemped to verify the information on

2 While Kahl lists the claimed serving size for Laird’s Superfood
Creamer Pumpkin Spice 8 oz. as 3/4 tsp, the nutrition label in
the complaint lists it as 1 tsp.


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the label “in the same manner one would expect of any consumer.”

Kahl used “a household 1 teaspoon measuring device” to record

“the weight of 12 replicate servings” on “a calibrated

laboratory balance.”     He then calculated the average weight of

the 12 measurements.     “The serving weight for the 3/4 teaspoon

was calculated using 75% of the 1 teaspoon measurement.”          Kahl

does not explain whether he packed or leveled the teaspoon.

     Kahl’s results were presented in two tables.         The tables

include information taken from the Product labels, entries

reflecting Kahl’s measurements, calculations from those

measurements, and comparisons between his calculations and the

label information.     The tables show that the seven containers

each contained either the total weight of Product listed on the

label or more of the Product.3      His teaspoon measurements

indicated that each of the 1 tsp. measures held over two grams

of Product, indeed each weighed between 2.7 and 3.4 grams.             The

3/4 tsp. measures also held over two grams of Product, indeed

between 2.1 and 2.2 grams.     Kahl did not explain the basis for

each of the calculations on his tables, but it appears that Kahl

divided the actual total weight in each container by his




3 Kahl found that one container held 226.7 grams of Product,
while the label listed it as holding 227 grams. The other six
containers held between two and thirteen more grams than
identified on the labels.

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teaspoon measurements and determined that the labels were

misleading.    For instance, when a label for one of the Products

indicated that the container held 114 servings, Kahl concluded

that it held as few as 77.6.

     Kahl presented two conclusions from his work: (1) “The data

indicates all containers listing 2g as a 1 teaspoon serving

weight on retail packaging are all greater than 2g by at least

35% and up to 71%.    Therefore, at least 35% and up to 71% more

product is consumed per the household measure printed on the

retail labels;” and (2) “The data revealed a shortage of product

in each retail container tested by at least 22% and up to 40%;

resulting from a larger product weight being consumed per

serving in all packages that list 2g as a 1 teaspoon serving

weight.”


                               Discussion

     Laird has moved to strike the reports from the plaintiff’s

expert.    Without expert testimony, the plaintiff is not able to

show that the Laird Product labels are misleading.

     The admissibility of expert testimony is governed by

Federal Rule of Evidence 702.      It provides:

     A witness who is qualified as an expert by knowledge,
     skill, experience, training, or education may testify
     in the form of an opinion or otherwise if:




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             (a) the expert’s scientific, technical, or other
                 specialized knowledge will help the trier of
                 fact to understand the evidence or to
                 determine a fact in issue;

             (b) the testimony is based on sufficient facts or
                 data;

             (c) the testimony is the product of reliable
                 principles and methods; and

             (d) the expert has reliably applied the principles
                 and methods to the facts of the case.

Fed. R. Evid. 702.

     The proponent of expert testimony bears the burden of

establishing its admissibility by a preponderance of the

evidence.     United States v. Williams, 506 F.3d 151, 160 (2d Cir.

2007).     The testimony must be relevant, and it must rest on a

reliable foundation.       Daubert v. Merrell Dow Pharm., Inc., 509

U.S. 579, 597 (1993); Williams, 506 F.3d at 160.            An expert’s

opinion is relevant if it will “help the trier of fact to

understand the evidence or to determine a fact in issue.”             Fed.

R. Evid. 702; see Daubert, 509 U.S. at 591.           Expert testimony

that invades the province of the fact finder, however, must be

excluded.     See United States v. Lumpkin, 192 F.3d 280, 289 (2d

Cir. 1999).

     An expert’s opinion must also have “a reliable basis in the

knowledge and experience of his discipline.”           Daubert, 509 U.S.

at 592.     A court should consider “the extent to which the



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expert’s theory has been subjected to peer review and

publication, whether the technique is subject to standards

controlling the technique’s operation, the known or potential

rate of error, and the degree of acceptance within the relevant

scientific community.”    United States v. Ulbricht, 858 F.3d 71,

116 n.50 (2d Cir. 2017) (citation omitted).        This “Daubert

reliability assessment” is a “flexible” inquiry, however, and

“Daubert is not a definitive checklist or test for the

reliability of expert testimony.”       Id. (citation omitted).

“[W]hether Daubert’s specific factors are, or are not,

reasonable measures of reliability in a particular case is a

matter that the law grants the [court] broad latitude to

determine.”   Id. (citation omitted).

     A court must “assess whether the expert employs the same

level of intellectual rigor that characterizes the practice of

an expert in the relevant field.”       Restivo v. Hessemann, 846

F.3d 547, 577 (2d Cir. 2017) (citation omitted).        Expert

testimony should be excluded “if it is speculative or

conjectural or based on assumptions that are so unrealistic and

contradictory as to suggest bad faith or to be in essence an

apples and oranges comparison.”      Zerega Ave. Realty Corp. v.

Hornbeck Offshore Transp., LLC, 571 F.3d 206, 213–14 (2d Cir.

2009) (citation omitted).



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     To be admissible, an expert’s analysis must be reliable “at

every step.”   Amorgianos v. Nat’l R.R. Passenger Corp., 303 F.3d

256, 267 (2d Cir. 2002).     “[A]ny step that renders the analysis

unreliable . . . renders the expert’s testimony inadmissible.

Id. (emphasis omitted).    Moreover, “nothing in either Daubert or

the Federal Rules of Evidence requires a district court to admit

opinion evidence that is connected to existing data only by the

ipse dixit of the expert.”       Gen. Elec. Co. v. Joiner, 522 U.S.

136, 146 (1997).

     For several reasons, the defendant’s motion to exclude

Kahl’s testimony is granted.       Before listing those reasons, it

is useful to revisit the issue of preemption.         As described in

the Opinion, the FDCA “expressly preempts any requirement for

nutrition labeling of food that is not identical to” the

requirements of the Act.     2022 WL 17363585, at *3 (citation

omitted).   Accordingly, state law consumer protection claims are

preempted when they challenge the contents of nutritional labels

that are compliant with the FDCA.        Id.   The defendant’s motion

to dismiss based on preemption was denied, however, because

“taking the complaint’s allegations as true,” the plaintiff

asserted that the Products’ labels were inaccurate in the

household measure used.    Id.     At this stage of the proceedings,

however, the plaintiff’s claim may only survive to the extent



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that the plaintiff has evidence that the label used a different

measure than prescribed by the FDCA.      The plaintiff’s expert

report fails to carry the plaintiff’s burden in this regard.

     The Kahl report must be stricken for at least two

independent reasons.    First, it is irrelevant.      It fails to

provide a basis for finding that Laird failed to comply with the

FDCA requirements for preparing labels.       Kahl states that he

conducted his measurements “from the perspective of a consumer,”

and that he did not follow the FDA Guidance because it “is

appropriate for the manufacturer, but not for a consumer.”             But

Kahl’s “consumer” measurements have no bearing on whether Laird

failed to follow the prescribed regulatory scheme.         To the

extent Kahl argues that the FDA Guidance and regulations result

in misleading labels for a consumer, that issue is preempted,

and more properly addressed to the FDA.

     Second, the report does not comply with Daubert’s

requirements.   It does not describe a scientifically reliable

methodology of measurement.     Instead, Kahl’s report describes a

rudimentary measurement process, taken “in the same manner one

would expect of any consumer,” not an expert metrologist.

Kahl’s description of his methodology states only that he

“measured” the Product weights.      He omits critical information

concerning the reliability of his equipment, his method for



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filling a teaspoon, and whether he packed or leveled the Product

in the teaspoon.       Kahl offers no description of his analytical

practices, and reported final values only to the nearest tenths

place.     Moreover, while Kahl was not required to follow the FDA

Guidance -- including that any volume measured should weigh at

least 10x the serving size -- his report provides no academic or

scientific support for the method he employed, nor does it

explain the potential error rate or the methodology’s degree of

acceptance within the relevant scientific community.             This falls

far short of the level of intellectual rigor mandated by Daubert

and Rule 702.

     The Kahl report contains a number of additional flaws.                Had

the plaintiff adequately established the report’s relevance and

reliability, these flaws may not have been determinative.              Kahl

assessed only one sample of Product per flavor variety.              He did

not independently source any of the Products for testing, and he

failed to describe the condition of the Products in his initial

report.4     Moreover, the reports omit information regarding

temperature and how many individuals were involved in the




4 In his rebuttal, Kahl states “[a]ll the products were within
their expiration dates, and none of the products demonstrated
evidence of being opened, being damaged or tampered with in any
way.”

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experiments.5     These flaws further support exclusion of the

reports under Daubert.

        Plaintiff’s counterarguments are unavailing.         Gwinn

primarily argues that the FDA Guidance is not mandatory, and

that Kahl did not need to employ the FDA’s suggested measuring

techniques in his analysis.        While the plaintiff is not required

to adhere to the FDA Guidance, that Guidance presents a method

used by experts to verify the accuracy of serving sizes in

nutrition labels.      Plaintiff has failed to offer any evidence

that Kahl “employs the same level of intellectual rigor that

characterizes the practice of an expert in the relevant field.”

Restivo v. Hessemann, 846 F.3d 547, 577 (2d Cir. 2017) (citation

omitted).     Moreover, the report is only relevant to the extent

that it shows Laird violated the FDCA.          Kahl’s methodology does

not provide a basis to believe that Laird failed to comply with

the regulatory scheme.

        Lastly, the plaintiff argues that Laird’s criticisms

concern the weight of Kahl’s evidence and not its admissibility,

citing two cases from this district.         This argument fails as

well.     To be admissible under Rule 702, Fed. R. Evid.,

“[p]roposed testimony must be supported by appropriate




5 The report states only that the “received conditions” and
“storage conditions” were “ambient.”

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